      Case 4:17-cv-00516-MW-CAS Document 28 Filed 05/15/18 Page 1 of 4



                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                        TALLAHASSEE DIVISION

JOHN DOE,

      Plaintiff,

v.                                          CASE NO. 4:17-cv-516-MW-CAS

FLORIDA STATE UNIVERSITY BOARD
OF TRUSTEES; FRANK DENENBERG,
an individual; and CODY HARTLEY,
an individual,
      Defendants.
                                            /

    PLAINTIFF’S AMENDED MOTION FOR ORDER REQUIRING
 PRODUCTION OF MATERIAL PROTECTED BY 20 U.S.C.A. § 1232(G)

      Plaintiff, through the undersigned attorney, hereby moves this Court for an

Order directing Defendant Florida State University Board of Trustees to produce

information protected under 20 U.S.C.A. § 1232(G), and states the following in

support thereof:

      1.     This case is focused to a large extent on examining Defendants’

conduct in investigating and handling a burglary complaint wherein Plaintiff was

misidentified as a suspect. This examination necessarily includes other students

who were involved, including but not limited to the student whom Plaintiff asserts

is a more appropriate suspect. It is critical to Plaintiff’s case to examine the

information regarding the more appropriate suspect which was available to



                                        1
      Case 4:17-cv-00516-MW-CAS Document 28 Filed 05/15/18 Page 2 of 4



Defendants during their investigation, and to compare Plaintiff to the more

appropriate suspect.

      2.     Defendant Florida State University Board of Trustees (FSU) properly

complied with the requirements of 20 U.S.C.A. § 1232(G) by refusing to produce

certain information absent a court order in responding to Plaintiff’s Request for

Production. Specifically, Defendant refused to produce documents responsive to

Plaintiff’s requests number 5, 11, 12, 14, 16, and 31.

      3.     The records sought though this motion include documentation for four

students (not including Plaintiff); the more appropriate suspect, the two reporting

students, or victims, and Plaintiff’s roommate, all who were present on the night in

question. Plaintiff’s 5th request for production seeks the Title IX file for the more

appropriate suspect. Plaintiff’s 11th request for production seeks the housing file

for Plaintiff, which also appears to contain housing communications relating to

non-party student witnesses, primarily the reporting students/victims, related to the

subject matter of the litigation. Plaintiff’s 12th request for production seeks the

housing file for the more appropriate suspect, and Plaintiff agreed to limit this

request to the school year in question only. Plaintiff’s 14th request for production

seeks building access logs for the more appropriate suspect from August 24, 2016

through September 5, 2016.         Plaintiff’s 16th request for production seeks

correspondence between involved parties. Plaintiff’s 31st request for production is



                                          2
      Case 4:17-cv-00516-MW-CAS Document 28 Filed 05/15/18 Page 3 of 4



a “catch-all” provision, and Defendant identified documents pertaining to the four

students listed at the top of this paragraph which are being withheld pursuant to 20

U.S.C.A. § 1232(G).

      4.     Access to the more appropriate suspect’s records is imperative for

Plaintiff in building a case. One such record is a simply a photo of the more

appropriate suspect –officers on scene had access to both Plaintiff’s photo, and the

other student’s photo, and Plaintiff believes that both photos matched the

description provided by the victims.

      5.     Plaintiff’s discovery requests are narrowly-tailored, and not designed

to invade the privacy of students not involved in the instant litigation. This motion

is made in good faith, and Plaintiff agrees to comply with the provisions of 20

U.S.C.A. § 1232(G), including not disseminating the information to other third

parties without the written consent of the impacted parties, and destroying the

information in question at the conclusion of the litigation.

                       CERTIFICATE OF CONFERRAL

      Plaintiff conferred with opposing counsel prior to filing the instant motion,

and there is no objection to the relief sought herein.




                                           3
     Case 4:17-cv-00516-MW-CAS Document 28 Filed 05/15/18 Page 4 of 4



                        CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that a true and correct copy of the foregoing motion
has been furnished to all counsel of record via CM/ECF this 15th day of May, 2018.


                                            Respectfully submitted,




                                            ___________________________
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